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                 UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT

PEOPLE FOR THE ETHICAL
TREATMENT OF ANIMALS,
MADELINE KRASNO, and RYAN
HARTKOPF,
                                                  Case No. 23-5110
              Appellants,

       v.

LAWRENCE A. TABAK, in his
official capacity as Acting Director of
the National Institutes of Health, and
XAVIER BECERRA, in his official
capacity as Secretary of the U.S.
Department of Health and Human
Services,

              Appellees.



    APPELLANTS’ CERTIFICATE AS TO PARTIES, RULINGS, AND
                      RELATED CASES

      Pursuant to D.C. Circuit Rule 28.1(a)(1), Appellants submit this Certificate as

to Parties, Rulings, and Related Cases.

      (A)    Parties and Amici. Appellants, who were plaintiffs in the district court,

are People for the Ethical Treatment of Animals, Inc. (PETA), Madeline Krasno,

and Ryan Hartkopf. Appellees, who were defendants in the district court, are

Lawrence Tabak, in his official capacity as Acting Director of the National Institutes

of Health, and Xavier Becerra, in his official capacity as Secretary of the U.S.


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Department of Health and Human Services. No amici or intervenors appeared in the

district court or in this appeal to date.

       (B) Rulings under Review. On March 31, 2023, United States District

Judge Beryl A. Howell issued a memorandum opinion and order denying Plaintiffs–

Appellants’ motion for summary judgment and granting Defendants–Appellees’

cross-motion for summary judgment. People for the Ethical Treatment of Animals

v. Tabak, No. 21-cv-2380 (D.D.C. Mar. 31, 2023), ECF Nos. 43, 44. The March 31,

2023 opinion is not published in the federal reporter but is available at 2023 WL

2809867 and is attached to Appellants’ Notice of Appeal, which was entered on this

Court’s docket on May 16, 2023.

       (C) Related Cases. The appealed ruling has not previously been before this

Court or any other court. There are no related cases pending before this Court or any

other court of which counsel is aware.



 Dated: June 15, 2023                           Respectfully submitted,

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